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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

________________________________________________
                                                )
UNITED STATES ASSOCIATION OF                    )
   REPTILE KEEPERS                              )
508 West 33rd Street                            )
Jasper, IN 47546,                               )
                                                )
        Plaintiff,                              )
                                                )
v.                                              )      Civil Action No. 1:23-CV-522
                                                )
THE HONORABLE DEB HAALAND,                      )
in her official capacity as the Secretary       )
   of the Interior,                             )
United States Department of the Interior        )
1849 C Street, N.W.                             )
Washington, D.C. 20240,                         )
                                                )
       Defendant.                               )
________________________________________________)


          COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF

Dated: February 24, 2023                  Shaun M. Gehan
                                          D.C. Bar No. 483720
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                                          Attorney for Plaintiff
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                                      INTRODUCTION

       1.      In this civil action, Plaintiff United States Association of Reptile Keepers

(“USARK”) challenges the adoption by Defendant, the Honorable Secretary of the Interior, Ms.

Deb Haaland, of a new wildlife import reporting requirement without procedure required by law.

See 5 U.S.C. § 553. Plaintiff have suffered a redressable wrong because of agency action.

       2.      This case involves importation and exportation of wildlife that is captive-bred (as

opposed to that which has been taken from the wild) in places like the United States, Asia, and

Europe, but which is a species native (or “endemic”) to a third country which at some point in its

history instituted controls or prohibitions on export of its native wildlife for commercial

purposes.

       3.      For example, there are species of skinks (a type of lizard) that are endemic to

Australia which have long been bred in European countries, such as Germany.             In 1999,

Australia implemented a law that bars almost all exports of its native wildlife for non-scientific

purposes.

       4.      At least as early as June 2017, the Secretary’s designees at the U.S. Fish and

Wildlife Service’s (“FWS”) Office of Law Enforcement (“OLE”) began seizing imported

wildlife specimens that meet the criteria in Paragraph 2, demanding that importers produce

evidence of a lawful export of specimens’ ancestors from the country to which the species is

endemic to another foreign nation. Specifically, proof that the “founder” or “parental” stock of

the captive bred animal which originally had been taken from the wild and exported to another

foreign country was lawfully so exported.

       5.      Such documentation is not required by FWS’s duly promulgated regulations

governing the importation of captive bred wildlife unless such documentation is required by the




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country of export to the United States or if the wildlife is governed by specific provisions of

international treaty.

         6.     Notably, this new regulatory policy has impacted species that have long histories

of being lawfully imported to the United States with FWS’ concurrence and which are widely

owned and bred in this country.

         7.     In all the cases of which USARK is aware, such information has been impossible

to obtain, owing to the ubiquity of the species involved in global commercial, zoological, and

scientific captive breeding operations over the course of decades, as well as general lack of legal

requirements for maintaining such paperwork, either at all or for extended periods, by most

nations—including the U.S.—except in certain specific circumstances not applicable here.

         8.     Thus, this policy seeks information from U.S. citizens that most often does not

exist.

         9.     These are the types of issues that could and would be raised during notice-and-

comment rulemaking required for adoption any such new import/export documentation

regulations.

         10.    More recently and for the first time as far as USARK is aware, this policy has

been enforced against a U.S. exporter and breeder of reptiles to deny him the ability to export an

animal endemic to a country that, at some point in history, adopted wildlife export controls, even

though his parental stock had been legally imported with FWS’ approval.

         11.    This unlawfully promulgated new rule is being applied nationally and to an

expanding number of countries.




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       12.     The development of this new import/export requirement without procedure

required by law has harmed USARK and its members through the loss of access to specimens

otherwise legally in trade and loss of domestic and foreign business opportunities.

       13.     USARK members in academic and scientific fields are being denied the ability to

conduct research for conservation, medical, and biological purposes.

       14.     This rule also places USARK members in reasonable fear of criminal and civil

prosecution for activities that have long been considered legal.

       15.     Plaintiffs are harmed by Defendant’s actions complained of herein. This harm

will be rectified by a favorable decision by this Court.

                                            PARTIES

       16.     Plaintiff United States Association of Reptile Keepers is a non-profit membership

organization representing reptile breeders, hobbyists, conservationists, academics, scientists, and

businesses that provide the reptile community with live animals, equipment, feed, transportation,

and specialized veterinary and other services.        USARK’s mission is to support scientific

research, provide public education, and advocate for conservation of all manner of reptile

species. The organization promotes responsible private ownership of, and trade in, reptiles, as

well as promulgating and endorsing responsible caging standards, sound husbandry, escape

prevention protocols, and an integrated approach to vital conservation issues.          USARK is

involved in legal and regulatory advocacy at the federal, state, and local levels on behalf of its

members and has previously been found to have standing to challenge agency actions impacting

its members and its mission. See United States Ass’n of Reptile Keepers v. Jewell, 1:13-cv-2007-

RDM (DDC 2015), USARK and its members have been and will continue to be harmed by the

illegal actions complained of herein.




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        17.      Defendant, the Honorable Deb Haaland, is the Secretary of the Department of the

Interior.     Defendant, by and through her designees at FWS, undertook the illegal and

unauthorized actions which are challenged in this case. Secretary Haaland is sued solely in her

official capacity.

                                  JURISDICTION AND VENUE

        18.      This case arises under the Administrative Procedure Act, 5 U.S.C. §§ 701-706.

        19.      This Court has jurisdiction pursuant to 28 U.S.C. § 1331, which grants the district

courts “original jurisdiction of all civil actions arising under the . . . laws . . . of the United

States”; 28 U.S.C § 2201 (the Declaratory Judgment Act); and the APA, 5 U.S.C. §§ 701-706,

which provides that final agency action for which there is no other remedy in a court is subject to

judicial review.

        20.      This Court has the authority to grant declaratory relief pursuant to the Declaratory

Judgment Act, 28 U.S.C. §§ 2201-2202, as well as the APA, 5 U.S.C. § 706.

        21.      Venue lies in this Court pursuant to 28 U.S.C. § 1391(b)(2), as a substantial part

of the events giving rise to this action occurred in this district, and 28 U.S.C. § 1291(e)(B), as the

Defendant Secretary of the Interior is an officer of the United States and a substantial part of the

events or omissions giving rise to the claims occurred in this district.

        22.      An actual, justiciable controversy exists between the parties within the meaning of

28 U.S.C. § 2201.

        23.      The federal government has waived sovereign immunity in this action pursuant to

5 U.S.C. § 702.

        24.      Plaintiff has exhausted all administrative remedies, the agency action challenged

is final and ripe for review, and, as shown herein, SFC has associational standing to bring these




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claims because “(a) its members would otherwise have standing to sue in their own right; (b) the

interests it seeks to protect are germane to the organization’s purpose; and (c) neither the claim

asserted nor the relief requested requires the participation of individual members in the lawsuit.”

Hunt v. Washington State Apple Advertising Comm’n, 432 U.S. 333, 343 (1977).

                    STATUTORY AND REGULATORY BACKGROUND

I.      Administrative Procedure Act

        25.     The APA defines a rule at “the whole or a part of an agency statement of general

or particular applicability and future effect designed to implement, interpret, or prescribe law or

policy or describing the organization, procedure, or practice requirements of an agency ….” 5

U.S.C. § 551(4).      “‘[R]ule making’ means agency process for formulating, amending, or

repealing a rule. Id. § (5).

        26.     “‘[A]gency action’ includes the whole or a part of an agency rule, order, license,

sanction, relief, or the equivalent or denial thereof, or failure to act.” Id. § (13).

        27.     “Each agency shall separately state and currently publish in the Federal Register

for the guidance of the public— substantive rules of general applicability adopted as authorized

by law ….” Id. § 552(a)(1)(D).

        28.     Courts generally refer to “the category of rules to which the notice and comment

requirements do apply as ‘legislative rules’ or, sometimes, ‘substantive rules.’” Mendoza v.

Perez, 754 F.3d 1002, 1021 (D.C. Cir. 2014) (citations omitted).

        29.     “Except to the extent that a person has actual and timely notice of the terms

thereof, a person may not in any manner be required to resort to, or be adversely affected by, a

matter required to be published in the Federal Register and not so published.” 5 U.S.C. §

552(a)(1).




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       30.     “General notice of proposed rule making shall be published in the Federal

Register, unless persons subject thereto are named and either personally served or otherwise have

actual notice thereof in accordance with law.” Id. § 553(b).

       31.     “After notice required by this section, the agency shall give interested persons an

opportunity to participate in the rule making through submission of written data, views, or

arguments with or without opportunity for oral presentation.” Id. § (c).

       32.     “The required publication or service of a substantive rule shall be made not less

than 30 days before its effective date,” subject to some exceptions. Id. § (d).

       33.     “A person suffering legal wrong because of agency action, or adversely affected

or aggrieved by agency action within the meaning of a relevant statute, is entitled to judicial

review thereof.” Id. § 702.

       34.     “Agency action made reviewable by statute and final agency action for which

there is no other adequate remedy in a court are subject to judicial review.” Id. § 704.

       35.     “To the extent necessary to decision and when presented, the reviewing court

shall decide all relevant questions of law, interpret constitutional and statutory provisions, and

determine the meaning or applicability of the terms of an agency action. The reviewing court

shall—hold unlawful and set aside agency action, findings, and conclusions found to be—

arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law; [and]

without observance of procedure required by law.” Id. § 706(2)(A),(D).

II.    Convention on International Trade in Endangered Species of Fauna and Flora

       36.     CITES is an international conservation and trade treaty to which the United States

is a party. See 16 U.S.C. § 1531(a)(4)(F).




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        37.       “The aim of CITES is to regulate international trade in wildlife and plants,

including parts, products, and derivatives, to ensure it is legal and does not threaten the survival

of species in the wild.” 50 C.F.R. § 23.1(b).

        38.       Defendant Secretary, through her designee FWS, is the Management Authority

and Scientific Authority under the CITES Treaty, empowered to “do all things necessary and

appropriate to carry out the functions … under the Convention.” Id. § 1537a(a),(b),(c).

        39.       Under CITES, animals and plants of conservation concern can be listed by vote of

the body under one of three Appendices depending on the level of depletion and other factors.

Those listed in Appendix I, which includes those of most concern, may be internationally traded

“only under exceptional circumstances” and generally not for commercial purposes. Appendix II

contains species “that are not presently threatened with extinction, but may become so if their

trade is not regulated.”      Appendix III is for species in which a “range country” seeks

“international cooperation in controlling trade.” 50 C.F.R. § 23.4.

        40.       To import or export species listed on one of the three CITES Appendices, one

must have a valid CITES document issued by the relevant Management Authority or Authorities.

Id. § 23.20(c).

        41.       The type of documentation and purposes for which trade may be conducted (e.g.,

commercial, scientific, or conservation) depends on the status of the species and the Appendix

under which it is listed. Id. § (d).

        42.       Such documentation must contain a “source code” for the specimens being traded

that indicates the specimen’s type and/or the purpose of the permitted activity, as well as the

Appendix on which it listed. See id.; see also id. § 23.24 (all source codes).




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       43.     This case, in part, involves imports and exports of Appendix II and III species that

are not otherwise listed or controlled under other laws such as the Endangered Species Act.

Such species may be traded in domestic and international commerce for commercial purposes

with an appropriate CITES document issued by the Management authority of the exporting

nation. See, e.g., 50 C.F.R. § 23.55(e) (uses of otherwise non-restricted Appendix II & III

wildlife after import).

III.   Defendant’s Wildlife Importation Regulations

       44.     Defendant’s designees at FWS have promulgated comprehensive regulations

governing the import and export of wildlife through required notice-and-comment rulemaking.

       45.     As relevant to this case, the general regulations governing all wildlife trade were

last comprehensively amended in 1996, see 61 Fed. Reg. 31868 (June 21, 1996), and the last

relevant update of the regulations governing trade in species listed under CITES was in 2014.

See 70 Fed. Reg. 30208 (May 27, 2014).

       A.      CITES Import and Export Regulations

       46.     Defendant’s regulations implementing CITES specify conditions under which her

designee FWS may inquire into the legality of the acquisition of captive bred wildlife’s parental

stock. “Parental stock” is defined as “the original breeding or propagating specimens that

produced the subsequent generations of captive or cultivated specimens.” 50 C.F.R. § 23.5.

       47.     For instance, such an inquiry may be proper when CITES requires a Management

Authority to make a “legal acquisition finding” with respect to trade in a listed species. “Legal

acquisition refers to whether the specimen and its parental stock were: (1) Obtained in

accordance with the provisions of national laws for the protection of wildlife and plants. In the

United States, these laws include all applicable local, State, Federal, tribal, and foreign laws; and




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(2) If previously traded, traded internationally in accordance with the provisions of CITES.” Id.

§ 23.60(b) (emphasis added).

          48.     One instance in which Defendant is required to make such a legal acquisition

finding is when a U.S. citizen seeks a CITES export, re-export, or a relevant exemption

document from Defendant’s designee FWS for a species listed under CITES. See id. § 23.60(a),

(c)(1).

          49.     Defendant also purports to reserve the right under certain circumstances to

question whether a CITES document issued by a foreign government is valid by seeking to

affirm whether the Management Authority of “[t]he Party or non-Party issuing the CITES

document has made the required legal acquisition finding.” Id. § 23.26(c)(9).

          50.     The conditions under which Defendant may inquire as to whether a foreign nation

made a legal acquisition finding include when FWS has “reasonable grounds to believe that a

CITES document is not valid or authentic because the species is being traded in a manner

detrimental to the survival of the species or in violation of foreign wildlife or plant laws, or any

applicable Management or Scientific Authority finding has not been made.” Id. § (d)(2).

          51.     Importantly, any such inquiry is made to the CITES “Secretariat or a foreign

Management Authority,” id. § (d); see also 72 Fed. Reg. 48402, 48416 (Aug. 23, 2007) (same),

not by requiring the domestic importer to provide such proof.

          52.     Another condition under which Defendant reserves the right to seek verification a

lawful acquisition of parental stock by a foreign county is when its designee FWS “has

reasonable grounds to believe that the specimen identified as bred in captivity … is a wild

specimen [or] was produced from illegally acquired parental stock ….” 50 C.F.R. § 23.26(d)(6).




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       53.     “Bred-in-captivity” is a specialized term referring to Appendix I wildlife that is

captive bred in a facility that is recognized by the Management Authority of the country in which

it is established and the CITES Secretariat as meeting certain conditions. Id. §§ 23.41, 23.46

       54.     Appendix I specimens that qualify as bred-in-captivity for commercial purposes

may be traded as if they are listed on Appendix II, meaning they may be traded for commercial

purposes and a U.S. resident does not need to obtain an import permit from FWS which would

otherwise be required for importing an Appendix I species. See id. § 23.46(a); § 23.41(b)(2).

       55.     Concomitantly, when a U.S. applicant seeks to register a domestic bred-in-

captivity operation, Defendant requires proof that the “parental stock [to be used in the facility]

was legally acquired.” Id. § 23.46(d)(2).

       56.     Records demonstrating as to whether a specimen or its parental stock was legally

removed from the wild is also authorized under Defendant’s regulations governing the types of

records a U.S. applicant may need to demonstrate the “origin of a specimen” when seeking a

U.S. CITES document. See id. § 23.34.

       57.     For example, when seeking a CITES document for “wild-collected” specimens,

one may be asked to produce records “that demonstrate the specimen or the parental stock was

legally removed from the wild under relevant foreign, Federal, tribal, State, or local wildlife …

conservation laws or regulations.” Id. § 23.34(b)(9).

       58.     Similarly, for specimens of “ranched wildlife”—defined as “specimens of animals

reared in a controlled environment that were taken from the wild,” id. § 23.5—an applicant may

need records “that demonstrate the specimen was legally removed from the wild under relevant

foreign, Federal, tribal, State, or local wildlife … conservation laws or regulations.” Id. §

23.34(b)(6).




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        59.     Tellingly, for “captive-bred” wildlife—which are “offspring of parents that either

mated or otherwise transferred egg and sperm under controlled conditions … but do[] not meet

the bred-in-captivity criteria,” id. § 23.5, and the category of wildlife most impacted by the

parental stock policy at issue in this case—the regulations suggest that records of a legal removal

of the parents are only needed “[i]f the wildlife was born in captivity from an egg collected in the

wild or from parents that mated or exchanged genetic material in the wild.”       Id. § 23.34(b)(1)

note.

        60.     Despite this provision, Defendant’s legal acquisition finding regulations,

discussed above, supra ¶¶ 46-47, state: “For a specimen that is captive-bred or cultivated, we

may consider whether the parental stock was legally acquired.” 50 C.F.R. § 23.60(e) (this

provision is somewhat redundant because the general legal acquisition finding regulations refers

to “parental stock,” see supra ¶ 46 (quoting 50 C.F.R. § 23.60(b)).

        61.     Thus, there are specific conditions under which a U.S. citizens must demonstrate

that a specimen was lawfully removed from the wild under domestic or foreign law, such as

when one is trading a wild-caught specimen or the offspring of parents that bred in the wild. See

¶¶ 56-58.

        62.     In other instances, Defendant may be required by treaty to determine if a

specimen and its parents where legally acquired, such as when conferring with the Management

Authority of an exporting nation regarding a particular shipment, see supra ¶¶ 48-51, or when

issuing a CITES export document. See supra ¶ 47.

        63.     “When an applicant is asked to provide documentation on the legal acquisition of

the parental stock, we are asking that they show that the specimens that were either removed




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from the wild or imported into the United States to establish a breeding operation were legally

obtained.” 79 Fed. Reg. 30400, 30208 (May 27, 2014) (emphasis added).

       64.     Thus, in certain instances, the question is whether the parental stock had been

internationally traded in accordance with CITES requirements and a more narrow and discrete

set of circumstances in which the original founding stock of a line of captive-bred or bred-in-

captivity wildlife has been legally removed from the wild.

       B.      Defendant’s General Wildlife Import/Export Regulations

       65.     To import wildlife, regardless of whether it is listed under CITES, all importers

must execute and file with FWS a “Declaration for Importation or Exportation of Fish or

Wildlife (Form 3-177).” 50 C.F.R. § 14.61.

       66.     “Wildlife” is defined as “any wild animal, whether alive or dead, including

without limitation any wild mammal, bird, reptile, amphibian, fish, mollusk, crustacean,

arthropod, coelenterate, or other invertebrate, whether or not bred, hatched, or born in captivity,

and including any part, product, egg, or offspring thereof.” 50 C.F.R. § 10.12.

       67.     Thus, when the term “wildlife” is used in the regulations, it is focused on a

particular specimen and, in some contexts, its offspring.

       68.     If the wildlife is imported for commercial use, the importer must have a

commercial import/export permit. Id. § 14.91(c)(7). No license is required to import wildlife as

a pet or for personal use. Id. §§ (5),(6).

       69.     Subject to certain exceptions, wildlife may only be imported through a designated

port. Id. §§ 14.11 & 14.12(b),(l).

       70.     In order to obtain clearance of imported wildlife specimens, a person must make

available to an FWS or Customs agent:




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                  (1) All shipping documents (including bills of lading, waybills and
             packing lists or invoices);

                   (2) All permits, licenses or other documents required by the laws or
             regulations of the United States;

                   (3) All permits or other documents required by the laws or
             regulations of any foreign country;

                   (4) The wildlife being imported or exported; and

                  (5) Any documents and permits required by the country of export or
             re-export for the wildlife.”

Id. § 14.52(c).

       71.        The requirement enumerated in paragraph 14.52(c)(3), relating to permits and

documents “required by the laws or regulations of any foreign country,” has been part of the

Defendants regulations since 1980. See 45 Fed. Reg. 56668, 56676 (Aug. 25, 1980).

       72.        At the time this regulation was enacted, Secretary’s designee FWS explained it

was a loosening of existing rules in that “documentation is no longer required to show that

wildlife has been lawfully taken in the country of origin, when that country does not require any

permit or document.” Id. at 56670.

       73.        “Country of origin” is defined as “the country where the animal was taken from

the wild, or the country of natal origin of the animal.” 50 C.F.R. § 10.12.

       74.        Thus, for captive-bred wildlife born in a country which does not require its

citizens to obtain a permit or other documentation to export such wildlife to the United States, no

documentation is required of U.S. importers under this provision.

       75.        The requirement set forth at paragraph 14.52(c)(5), relating to “documents and

permits required by the country of export or re-export for the wildlife,” was added to

Defendant’s regulations in 1996. See 45 Fed. Reg. 31850, 31869 (June 21, 1996). “Re-export




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means to send, ship, or carry out of a country any specimen previously imported into that

country, whether or not the specimen has been altered since import.” 50 C.F.R. § 23.5.

       76.     When this provision was proposed, the language was entirely different. The

language in the proposed rule would have required importers and exporters to provide “[a]ny

documents and permits required by the country of natal origin of the wildlife” of each wildlife

specimen being imported. 45 Fed. Reg. at 31858.

       77.     The provision was changed in response to comments objecting to the requirement

due to “problems in establishing the ‘country of natal origin’ of wildlife.” Id.

       78.     Other objections included the following:

                 Some respondents were concerned about potential challenges to
                 foreign permits and the procedures that would become necessary to
                 establish the validity of such permits and other documentation. Many
                 importers expressed concern with “country of natal origin”
                 requirements and believed that it would often be impossible to
                 determine what documentation was required. Several respondents
                 anticipated problems in obtaining the required documentation and
                 were concerned that shipments may be detained and seized under the
                 procedures specified in § 14.53(a).

Id.

       79.     FWS explained that by “proposing to require documentation from the ‘country of

natal origin’ the Service was attempting to address the enforcement concern of wildlife being

unlawfully exported from an originating country in violation of an existing ban on exports, or in

violation of a foreign law designed to regulate the export of such wildlife, and its subsequent re-

exportation from a secondary country to the United States.” Id.

       80.     However, Defendant’s designee rejected the original formulation because it found

“that determining the natal origin and requiring documentation for each successive importation

and re-exportation of wildlife may impose an unreasonable burden on importers and Service




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personnel” and that the new language would “allow the public to more easily determine when

they have met the requirements imposed by CITES or of foreign law.” Id.

       81.     Thus, the Defendant had determined that “it would be unreasonable to require

country of natal origin documentation with every importation, especially in the absence of

reasonable suspicion of unlawful export from the country of natal origin,” id. at 31859, but she

reserved the right to seek proof of the country in which an imported specimen was born or

hatched if circumstances warranted.

       82.     Defendant knows how to specify conditions under which it may request

documentation of a lawful export of founder stock, as demonstrated by her CITES regulations,

discussed above.

       83.     Moreover, Defendant has rejected a requirement to require proof of the country of

natal origin of imported and exported specimens on the grounds that providing such in every

instance would impose an unreasonable burden on both domestic importers and FWS itself.

       84.     Clearly, a requirement of documentation of a transfer of the founder stock as

between two foreign nationals that may have occurred decades earlier would represent an

exponentially greater burden than asking for documentation showing proof of where a particular

captive-bred specimen being imported was born.

       85.     No general regulation requires importers to provide permits or documents

demonstrating a lawful export of imported wildlife’s ancestors from the country where the

founding stock was removed from the wild to another foreign nation.




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        C.      The Lacey Act

        86.     The Lacey Act, 16 U.S.C. Chapt. 53, inter alia, defines circumstances in which

violations of federal, state, tribal, and foreign wildlife laws can lead to federal criminal and civil

liability.

        87.     Among other things, makes it unlawful to “to import, export, transport, sell,

receive, acquire, or purchase in interstate or foreign commerce— (A) any fish or wildlife taken,

possessed, transported, or sold in violation of any law or regulation of any State or in violation of

any foreign law.” Id. § 3372(a)(2).

        88.     The Lacey Act, as do Defendant’s regulations, see supra at ¶ 65, defines “fish or

wildlife” as “any wild animal, whether alive or dead, including without limitation any wild

mammal, bird, reptile, amphibian, fish, mollusk, crustacean, arthropod, coelenterate, or other

invertebrate, whether or not bred, hatched, or born in captivity, and includes any part, product,

egg, or offspring thereof.” 16 U.S.C. § 3371(a).

                                  FACTUAL ALLEGATIONS

        89.     On information and belief, beginning at some point in early 2017, agents with

Defendant’s designees in the Department of Interior’s Office of Law Enforcement (“OLE”)

began detaining imports of certain captive-bred wildlife and asking domestic importers to

provide proof of a lawful export from the country to which specimens’ ancestors are endemic to

another foreign nation in which subsequent generations were bred. (Decl. of Philip W. Goss

(“Goss Decl.”), ¶¶ 10-11 (appended hereto as Exh. 1).)

        90.     These detentions and seizures have been applied to both CITES-listed species

(accompanied by CITES documentation issued by the exporting nation) and non-CITES species.

(Id. ¶ 12.)




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       91.     In each case, the domestic importer had provided all documentation required by

Defendant under the regulations discussed above. (Id. ¶ 11.)

       92.     The first instances of such detentions appeared to be confined to the designated

port of Miami and other designated ports within the OLE’s Southeastern Region and initially

involved exports from European countries of species endemic to Australia and Brazil, as detailed

below. (Id. ¶ 15.)

       93.     In many cases, specimens of the same species were being cleared at other

designated ports by OLE officers. (Id. ¶ 16.)

       94.     These detentions were predicated on the Lacey Act, specifically on the basis that

the country to which the species is endemic (as to opposed to the imported specimen’s country of

natal origin and export) had at some point in its history adopted laws and regulations regarding

export of its native wildlife. (Id. ¶ 44; see also Decl. of Stephen Sykes (“Sykes Decl.”), ¶¶ 16-

17, 27, 32 (appended hereto as Exh. 2).)

       95.     For example, Australia implemented a general law barring export of native

vertebrate wildlife without a permit in 1982. Wildlife Protection (Regulation of Exports and

Imports) Act of 1982 (Austrl.) § 21(b), available at http://classic.austlii.edu.au/au/legis/cth/num

_act/wpoeaia1982578/.

       96.     Brazil instituted a law limiting export of wildlife to certain legalized species and

to those who are licensed in 1967, see Wildlife Protection Law of 1967 (Law No. 5,197/67) Art.

3rd, available at http://www.planalto.gov.br/ccivil_03/leis/ L5197.htm, and prohibited the export

of wildlife without a permit in 1998. Crimes Against the Environment, (Law No. 9,605/98), Art.

29§ 1(III), available at https://www.planalto.gov.br/ccivil_03/leis/L9605.htm.




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       97.      These seizures appear to be predicated on an assumption that the original founder

stock’s export from the country from which it was taken from the wild to another foreign country

was unlawful unless the U.S. importer can produce an export permit or other documentation of

that original transaction between two foreign nationals. (Goss Decl. ¶ 23.)

       98.      Such documentation is not currently required by Defendant’s regulations. See

supra at ¶¶ 82-85.

       99.      Over the course of the following five years, the demand for proof of a lawful

export between two foreign countries appears to have become a uniform national policy and is

being applied to an increasing number of countries, although Defendant has not undertaken a

rulemaking required by the APA to amend existing regulations. (Goss Decl. ¶¶ 18-19, 41.)

       100.     In 2022, for the first time of which Plaintiff is aware, this rule was employed to

deny a U.S. citizen the ability to export specimens that were bred from previously imported

founder stock. (Sykes Decl. ¶¶ 14-22.)

       101.     In one instance, FWS requested documentation of the lawful trade in the direct

ancestors of a common gecko (Eurydactylodes vieillardi), a species native to New Caledonia,

when the shipment was presented to FWS for inspection prior to export. (Sykes Decl. ¶ 14-17,

25.)

       102.     The breeders who produced the domestic captive-bred E. vieillardi could not trace

the lineage of the seized specimen due to numerous trades and the large number of offspring

produced over time. (Id. ¶ 18.)       However, the exporter gave FWS copies of an export

authorization and collection permit given to two herpetoculturists by New Caledonian

government officials allowing them to take this and other species. (Id. ¶ 21.)




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       103.     Those herpetoculturists were collecting specimens for research and to breed them

in captivity. New Caledonian officials’ only condition was that the wild-collected specimens

could not be sold but did allow sales of their offspring. (Decl. of Phillippe de Vosjoli (“de

Vosjoli Decl.”), ¶¶ 9-10, 24-25 (appended hereto as Exh. 3).)

       104.     European herpetoculturists were likewise given similar collection permits and

have begun lines of various gecko species from New Caledonia there. (Id. ¶¶ 28-31.)

       105.     In a second incident, the same U.S. exporter sent FWS officials an email listing

reptiles he intended to export from San Francisco on July 15, 2022, including Indian leopard

geckos and Iranian leopard geckos, both non-CITES listed species. (Sykes Decl., ¶¶ 26-27.)

       106.     In response to a request by FWS to produce the original import documents for

these two species, the exporter explained that he had been breeding these geckos for 10 to 15

years and had exported them on numerous occasions but did not have the import documentation

for the specific ancestors of the specimens being exported. (Id. ¶ 28.)

       107.     Further communications with the government agents revealed that FWS was

seeking “proof of legal export of the parent stock from their range country” before they would

authorize the export of these animals. (Id. ¶ 31.)

       108.     Iranian leopard geckos are indigenous to Iraq, Iran, Turkey, and Syria. Indian

leopard geckos are native to India and Bangladesh. The parental stock for these animals,

however, was lawfully imported from European captive-bred stock. (Id. ¶ 33.)

       109.     Because the exporter was unable to produce such documentation, he did not

include these species in the shipment and has not shipped any of these species since despite

continuing demand. (Id. ¶ 36.)




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       110.     FWS never indicated which of these countries may have restrictions or permitting

requirements, unlike the case of the E. vieillardi when the agents apparently incorrectly indicated

that the New Caledonian government had never allowed their export for commercial breeding

purposes. (Id. ¶ 34.)

       111.     Plaintiff is unaware if any or all these countries have prohibitions or export

licensing requirements for native wildlife or how they may have evolved over time. (Id. ¶ 35.)

       112.     The generic request for proof of a lawful export from any one of several foreign

nations in the case of the Iranian leopard geckos without so much as an allegation that any one of

these nations have wildlife export controls demonstrates that the parental stock policy has

become a general regulatory requirement rather than a matter of specific instances of wildlife law

enforcement.

       113.     In fact, one Special Agent for FWS indicated that “the Inspector program has

changed significantly since I left and has been receiving increasingly more guidance from

headquarters in an effort to increase consistency across the nation.” (Sykes Decl. ¶ 39.)

       114.     In another instance, FWS seized a species of tarantula, Phormingochilus

arboricola, endemic to the island of Borneo but inhabiting areas under the jurisdiction of both

Malaysia and Indonesia. The specimens were captive-bred in Germany, from which they were

imported. (Decl. of Patrick Byars Corcoran (“Corcoran Decl.”), ¶¶ 4-5, 7-9 (appended hereto as

Exh. 4).)

       115.     The seizure was predicated on a violation of Malaysian law and, as in all other

instances described herein, the importer was unable to produce any documentation showing the

export of their parental stock from Borneo to Germany (or another foreign nation). (Id. ¶ 7.)




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       116.     On information and belief, however, Indonesia has no wildlife export or

permitting requirements. (Id. ¶ 10.) Thus, FWS’ policy seeks information which may not even

exist for there to have been a lawful transaction in the founder stock of this species of tarantula.

       117.     This new requirement is arbitrary and capricious for several reasons.

       118.     For one, this rule does not account for transactions in which the original founding

stock was exported to another nation for captive breeding prior to a nation’s adoption of permit

regulations or other legal restrictions on export or use of native wildlife. (Goss Decl. ¶¶ 24-25.)

       119.     Moreover, offspring of the original founding stock is frequently exported to other

nations to begin a new line of captive-bred wildlife, the offspring of which may be traded to yet

another country to begin yet another new line. Multiple generations, bred over many decades in

several different countries may separate a specimen imported to the United States from the

original founder stock. (Id. ¶¶ 25, 29.)

       120.     Even where nations may have requirements relating to import and export

documentation, they may, like the United States, have limitations on how long such records must

be maintained. In the United States, most paperwork must only be retained for five years. (Id. ¶

27.)

       121.     There are other means by which specimens of wildlife may be legally exported or

taken from a particular country and subsequently produce captive bred offspring that may be

legally traded. The parental stock may have been exported for scientific purposes, as in the case

of the E. vieillardi discussed above. Supra ¶¶ 101-104; (see also Goss Decl. ¶¶ 31-32.)

       122.     Also, many, if not most countries, allow citizens to emigrate with their

personally-owned wildlife, which may then be bred or traded to breeders in third countries to

start new lines. (Goss Decl. ¶ 38.)




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       123.     Moreover, under CITES and domestic law, seized specimens that have been

illegally trafficked (and thus their offspring) may enter legal trade under certain conditions.

(Goss Decl. ¶¶ 33-36.)

       124.     In sum, there are numerous, lawful ways parental stock can begin new lines of

captive-bred generations for which there is no paper trail or legal requirement to have maintained

the original documentation.

       125.     The implementation of this policy has caused USARK and its members injury.

       126.     For one, the organization and its members have suffered a procedural injury by

being forced to comply with a regulation of which they had no notice and on which they were

denied the opportunity to comment and raise concerns such as those outlined above.

       127.     The new rule also causes financial harm. Wildlife importers and exporters are

unable to continue trading an increasing number of species that have long been marketed and for

which there is continuing demand. (Sykes Decl. ¶¶ 41-46; Goss Decl. ¶ 45; Corcoran Decl. ¶

12.)

       128.     Finally, this rule, based as it is on a theory of potential (if supposed) unlawful

transactions between foreign nations and actors, is causing anxiety and placing citizens engaged

in a lawful business reasonable fear that they may be subject to seizures and potential criminal

and civil penalties. (Goss Decl. ¶ 44; Sykes Decl. ¶ 45.)

       129.     Such injury will continue unless relief is provided by this Court.

                                      CAUSE OF ACTION

       130.     This case involves Defendant’s adoption and enforcement of a new substantive

legislative rule without adherence to procedure required by law.




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          131.     This new rule is also arbitrary and capricious within the meaning of the

Administrative Procedure Act.

          132.     Plaintiffs are harmed and will continue to suffer substantive and procedural

injuries by the unlawful actions complained of herein unless rectified by this Court.

                                            COUNT ONE
                           (APA, Failure to Adhere to Required Procedure)

          133.     Plaintiffs allege paragraphs 1 through 132 as if they were set forth in full herein.

          134.     The APA provides for judicial review to a “person suffering legal wrong because

of agency action, or adversely affected or aggrieved by agency action.” Id. § 702.

          135.     The Department of Interior is an “agency” under the APA. 5 U.S.C. § 551(A).

          136.     The APA provides that the “reviewing court shall . . . hold unlawful and set aside

agency action . . . found to be . . . (A) arbitrary, capricious, an abuse of discretion, or otherwise

not in accordance with law; . . .(C) in excess of statutory jurisdiction, authority, or limitations, or

short of statutory right; [or] (D) without observance of procedure required by law[.]” 5 U.S.C. §

706(2).

          137.     The “parental stock policy” is a rule subject to rulemaking procedures within the

meaning of the APA because it is an agency statement particular applicability and future effect

designed to implement, interpret, or prescribe law or policy, specifically, a policy of requiring

the provision of specific information in order to engage in the import and export of wildlife.

          138.     In order to implement such a rule of general applicability the Secretary must

comply with the APA process for notice-and-comment rulemaking. 5 U.S.C. § 553.

          139.     Defendant has failed to adhere to these procedures when promulgating the

parental stock policy rule.




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          140.     This violation has caused and will continue to cause Plaintiff injury unless relief

is granted by this Court.

                                             COUNT TWO
                                     (APA, Arbitrary and Capricious)


          141.     Plaintiffs allege paragraphs 1 through 140 as if they were set forth in full herein.

          142.     The APA provides that the “reviewing court shall . . . hold unlawful and set aside

agency action . . . found to be . . . (A) arbitrary, capricious, an abuse of discretion, or otherwise

not in accordance with law; . . .(C) in excess of statutory jurisdiction, authority, or limitations, or

short of statutory right; [or] (D) without observance of procedure required by law[.]” 5 U.S.C. §

706(2).

          143.     The “arbitrary and capricious” standard of the APA’s scope of judicial review

allows a court to overturn a regulatory decision “if the agency has relied on factors which

Congress has not intended it to consider, entirely failed to consider an important aspect of the

problem, offered an explanation for its decision that runs counter to the evidence before the

agency, or is so implausible that it could not be ascribed to a difference in view or the product of

agency expertise.” Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29,

(1983).

          144.     The Secretary’s actions in promulgating the parental stock policy rule are

arbitrary and capricious because it subjects Plaintiff’s members to forfeiture and other civil or

criminal penalties based on an inability to provide information or documentation that may not

even exist and which is, in virtually every instance, impossible to obtain.

          145.     Defendant’s unlawful rule also arbitrary and capricious because it relies on a

presumption of illegality in the absence of any reasonable suspicion of criminal activity or




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probable cause that a particular specimen is the offspring of wildlife taken in violation of the

laws of any nation.

       146.      This arbitrary and capricious action has caused and will continue to cause Plaintiff

injury unless relief is provided by this Court.

                                         PRAYERS FOR RELIEF

       WHEREFORE, Plaintiffs respectfully seek an Order of this Court:

           (a)      declaring that the Defendant’s “parental stock” policy is a rule adopted
                    without procedure required by law;

           (b)      declaring this rule to be arbitrary and capricious within the meaning of the
                    APA;

           (c)      vacating the unlawful rule and remanding the matter back to Defendant for
                    further procedures required by law;

           (d)      enjoining the Defendant from enforcing the unlawful “parental stock” policy
                    rule;

           (e)      requiring Defendant to return any wildlife seized from USARK members
                    under the unlawful rule to its rightful owner;

           (f)      awarding Plaintiffs their costs and attorneys’ fees as appropriate; and

           (g)      granting any such other relief as is just and proper.

Dated: February 24, 2023                          Respectfully submitted,

                                                  Shaun M. Gehan
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